           Case 1:19-vv-00607-UNJ Document 53 Filed 06/10/21 Page 1 of 2




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
KENNETH BARBER,          *
                         *                         No. 19-607V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: May 25, 2021
                         *
SECRETARY OF HEALTH      *                         Stipulation; Tetanus Diphtheria
AND HUMAN SERVICES,      *                         acellular pertussis (“Tdap”) vaccine;
                         *                         pneumococcal conjugate (“PCV”)
                         *                         vaccine; Guillain-Barré Syndrome
             Respondent. *                         (“GBS”).
******************** *

Diana L. Stadelnikas, Maglio Christopher and Toale, PA, Sarasota, FL, for
Petitioner;
Jennifer L. Reynaud, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On May 24, 2021, the parties filed a joint stipulation concerning the petition
for compensation filed by Kenneth Barber on April 24, 2019. Petitioner alleged
that the tetanus-diphtheria-acellular pertussis (“Tdap”) and pneumococcal
conjugate (PCV”) vaccines he received on February 21, 2018, which are contained
in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), caused him to
suffer Guillain-Barré syndrome. Petitioner further alleges that he suffered the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages on his
behalf as a result of his condition.

       1 The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
           Case 1:19-vv-00607-UNJ Document 53 Filed 06/10/21 Page 2 of 2




      Respondent denies that petitioner’s alleged GBS and residual effects were
caused-in-fact by the Tdap or PCV vaccine; and denies that the Tdap and/or PCV
vaccine caused petitioner any other injury or his current condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $62,500.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment according to this decision and the attached
stipulation.2


       IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




       2  Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
